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                            UNITED STATED DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

MANAGEMENT PROPERTIES, LLC,
A Florida Limited Liability Company,

       Plaintiff,

v.                                                   Case No.:

TOWN OF REDINGTON SHORES,
FLORIDA,

      Defendant.
__________________________________/

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff, MANAGEMENT PROPERTIES, LLC (“Plaintiff”), sues Defendant, TOWN OF

REDINGTON SHORES, FLORIDA, and alleges as follows:

                          PARTIES JURSIDICTION AND VENUE

       1.      Plaintiff brings this action pursuant to 42 U.S.C. § 1983 for violation of its rights

under the Fourth and Fourteenth Amendments of the United States Constitution and for declaratory

relief pursuant to 28 U.S.C. §§ 2201 and 2202.

       2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3).

Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202. This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C §1367(a), because Plaintiff’s

state law claims form a part of the same case or controversy and arise out of a common nucleus of

operative facts.

       3.      Plaintiff operates a vacation rental business out of the single family beachfront

home located at 17820 Lee Ave, Redington Shores, Florida, and within jurisdictional border of the

Town of Redington Shores, Florida.
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       4.      Defendant, TOWN OF REDINGTON SHORES, FLORIDA (“Town”), is a

municipality organized under the laws of Florida and located in Pinellas County.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the TOWN

OF REDINGTON SHORES, FLORIDA is a municipality located within the District.

                                    BACKGROUND FACTS

       6.      Plaintiff operates a vacation rental business out of 17820 Lee Ave, Redington

Shores, Florida, which is located within the Town’s Commercial Tourist Facility (“CTF”) zoning

district. The 17820 Lee Ave property has consistently been used for vacation rental purposes since

2017. Plaintiff utilizes a variety of peer-to-peer platforms to market and facilitate its vacation

rental business.

       7.      Until August 5, 2020, the Town did not have any ordinances in place restricting the

use of single family homes within the CTF district for short term or vacation rental purposes.

       8.      Under Florida law, the regulation of public lodging establishments, which includes

vacation rentals, is preempted to the state. Specifically, section 509.032(7)(a) provides that

       The regulation of public lodging establishments and public food service
       establishments, including, but not limited to, sanitation standards, inspections,
       training and testing of personnel, and matters related to the nutritional content and
       marketing of foods offered in such establishments, is preempted to the state. This
       paragraph does not preempt the authority of a local government or local
       enforcement district to conduct inspections of public lodging and public food
       service establishments for compliance with the Florida Building Code and the
       Florida Fire Prevention Code, pursuant to ss. 553.80 and 633.206.

       9.      In 2011, the Florida legislature adopted 509.032(7)(b) which provided:

       A local law, ordinance, or regulation may not restrict the use of vacation rentals,
       prohibit vacation rentals, or regulate vacation rentals based solely on their
       classification, use, or occupancy. This paragraph does not apply to any local law,
       ordinance, or regulation adopted on or before June 1, 2011.

       10.     In 2014, 509.032(7)(b) was amended to read:
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       A local law, ordinance, or regulation may not prohibit vacation rentals or regulate
       the duration or frequency of rental of vacation rentals. This paragraph does not
       apply to any local law, ordinance, or regulation adopted on or before June 1, 2011.

       11.     Since 2017, when the property started being used for vacation rental purposes, the

Town, led by its Mayor, Marybeth Henderson, who two houses to the North on Lee Avenue,

became increasingly hostile to vacation rentals in the area. The property located at 17820 Lee Ave

was routinely, and almost exclusively, identified in public meetings relating to the Town’s efforts

to regulate vacation rental properties.

       12.     On August 5, 2020, the Town adopted Ordinance 20-06, which purports to regulate

vacation rental use within the CTF district. A Copy of Ordinance 20-06 is attached as Exhibit

“A.”

       13.     According to the stated purpose of Ordinance 20-06:

       WHEREAS, if unregulated, vacation rentals can create negative compatibility
       impacts in residential neighborhoods, including disruption of the character of
       residential neighborhoods, excessive noise, parking that overwhelms use by local
       residents, and accumulation of trash, as well as diminished public health, safety,
       and welfare; and

       WHEREAS, these regulations provide requirements that apply to those who wish
       to offer and use vacation rentals, as well as to the platform entities that facilitate
       vacation rentals in the community; and

       WHEREAS, to protect residential neighborhoods in the Town from disruptive and
       incompatible uses and to protect the health, safety and welfare of the community,
       the Commission wishes to enact regulations pertaining to vacation rentals

       14.     Ordinance 20-06 goes on to create Section 90-116 of the Town’s code which

outlines a comprehensive regulatory scheme governing the operation of vacation rental properties

within the Town.

       15.     In particular, anyone wishing to use a property for vacation rental purposes must

submit a Certificate of Use application to the Town and provide under oath, certain information
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relating to the vacation rental business that the applicant intends to operate, including but not

limited to: the names of all peer-to-peer platforms or entities on which the vacation rental will be

listed, insurance information, the name and contact information of the party who will be

responsible for operating the vacation rental property, and an acknowledgement that the vacation

rental will be operated in compliance with the terms set forth in the ordinance.

       16.       The newly created Section 90-116 further requires that a register of all guests, and

their invitees be kept and made available for inspection by the Town, and that the vacation rental

property itself be made available for inspection by the Town at the Town’s discretion, to ensure

compliance with all applicable code requirements. Additionally, Section 90-116 requires peer-to-

peer entities offering vacation rentals within the Town provide the Town with a monthly report

disclosing the number of vacation rental listings relating each property offered for rent.

       17.     Section 90-116 also requires that peer-to-peer platforms listing vacation rental

properties submit monthly reports to the Town detailing the number of listings and nights each

property was rented.

       18.      Section 90-116 also purports to set a maximum overnight occupancy for vacation

rental properties.

       19.     All conditions precedent to the filing of this action have be satisfied or have been

otherwise waived.

                     COUNT I – VIOLATION OF FOURTH AMENDMENT

       20.     Plaintiff re-alleges paragraphs 1 through 19 as set forth above.

       21.     Plaintiff brings this action pursuant to 42 U.S.C. § 1983 against the Town of

Redington Shores, Florida.
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       22.     On August 5, 2020, the Town adopted Ordinance 20-06 which amended the Code

of the Town of Redington Shores to add Section 90-116 for the purposes of regulating vacation

rental use within the Town’s CTF district.

       23.     Numerous provisions contained within the newly added Section 90-116 violate

Plaintiff’s rights under the Fourth Amendment in that they purport to require Plaintiff to make its

property, as well as its business records, available to the Town for inspection at the Town’s

discretion without a warrant.

       24.     Specifically, Section 90-116(C)(5) requires that:

       Upon the issuance or renewal of a Certificate of Use, the vacation rental property shall be
       subject to inspection, at the Town's discretion, to ensure compliance with all applicable
       code requirements. At the time of such inspection, at the request of the Town, the
       responsible party shall provide all licenses, records and other documentation sufficient to
       demonstrate compliance with all requirements of this section.

       25.     Section 90-116(C)(2)(d) further requires that a property owner operating a vacation

rental property “Maintain a register with names and dates of stay of all guests, including but not

limited to all transient occupants and their invitees, which shall be open to inspection by the

Town.”

       26.     Section 90-116(D)(1)(b)(ii) further requires peer-to-peer platforms provide

monthly reports to the Town disclosing the number of listings and rentals for each vacation rental

property listed in the Town.

       27.     Thus, the plain language of Section 90-116 authorizes the Town to inspect a

property owner’s vacation rental property and related business records without first obtaining a

warrant.

       28.     Further, Section 90-116(C) requires all property owners intending to use their

properties for vacation rental purposes to obtain a Certificate of Use from the Town. A property
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may not be used for vacation rental purposes without a Certificate of Use from the Town.

However, in order to obtain a Certificate of Use, Section 90-116(C)(1) requires that a property

owner submit an application consenting to the regulations set forth in Section 90-116, including

the inspection of the vacation rental property itself and the related vacation rental records.

       29.     Violations of 90-116 may result in fines up to $2,500 and can also result in the

revocation of the Certificate of Use.

       30.     Thus, as an express condition to operating a vacation rental property, property

owners waive their Fourth Amendment rights and consent to warrantless inspections of their

vacation rental property business records.

       31.     The Town does not have a compelling, or even a legitimate interest, that would

justify warrantless searches and neither Section 90-116 nor any other Town code provision does

not contain sufficient rules and procedures governing the conduct of warrantless searches to

provide a constitutionally adequate substitute for a lawfully issued warrant.

       32.     Further, since the Town does not have the authority to regulate vacation rentals or

matters relating to the operation of vacation rentals, the Town does not appear to have a legitimate

basis for any of the required inspections of the premises or vacation rental business records.

       33.     Sections 90-116(C), 90-116(C)(5), 90-116(C)(2)(d) and 90-116(D)(1)(b)(ii) are

facially unconstitutional as they authorize the Town to inspect the vacation rental premises and

related vacation rental business records without a warrant in violation of the Fourth Amendment.

       34.       Further, 90-116(C) places an unconstitutional condition on property owner’s

business’ right to conduct business within the Town by requiring owners of vacation rental

properties to waive their Fourth Amendment Rights and consent to warrantless inspections of their

properties and business records.
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       WHEREFORE, Plaintiff, demands judgment against Defendant, Town of Redington

Shores, Florida, for declaratory relief finding that the Section 90-116 of the Town Code is

unconstitutional on its face, injunctive relief prohibiting the Town from conducting warrantless

searches or inspections of Plaintiff’s vacation rental properties pursuant to Section 90-116,

nominal damages to vindicate Plaintiff’s constitutional rights, an award of attorneys’ fees and costs

pursuant to 42 U.S.C. 1988, and all other relief that is just and proper.

                     COUNT II – PREEMPTION UNDER STATE LAW

       35.     Plaintiff re-alleges paragraphs 1 through 19 as set forth above.

       36.     Prior to August 5, 2020, the Town did not have any ordinances in place restricting

or otherwise regulating vacation rental properties.

       37.     On August 5, 2020, the Town adopted Ordinance 20-06 which amended the Code

of the Town of Redington Shores to add Section 90-116 for the purposes of regulating vacation

rental use within the Town’s CTF district.

       38.     Section 90-116 sets forth a comprehensive regulatory scheme regarding the

operation of vacation rental properties, including but not limited to specifying the records to be

kept, financial and tax reporting requirements, inspection requirements, insurance requirements,

and maximum occupancy requirements unrelated to building code and fire safety regulations.

       39.     In addition to requiring vacation rental operators to maintain certain records relating

to their rental activities, including, but not limited to records of the names and addresses of guests

and financial information relating to the business, which records are subject to inspection by the

Town, as set forth in Sections 90-116(C) and (D), Section 90-116(D)(3) also purports to set a

maximum overnight occupancy for the vacation rental, unrelated to the applicable fire and building
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codes, of two persons per permitted bedroom plus two additional persons per property up to a

maximum of 12 persons per property.

        40.     Violations of Section 90-116 may result in fines up to $2,500 and can also result in

the revocation of the Certificate of Use for a period of up to 12 months. Further, because section

90-116 incorporates all applicable laws and code provisions, and mandates compliance with the

same, a violation of any Town code provision can result in a fine up to $2,500 and suspension of

the Certificate of Use.

        41.     Property owners and those responsible for managing the property are also jointly

and severally liable for any violations committed by their guests or peer-to-peer entities used to

list the properties.

        42.     However, Section 509.032(7)(a) specifically preempts to the state the regulation of

public lodging establishments, including vacation rentals, except that local governments may still

enforce applicable building and fire safety codes.

        43.     Further, pursuant to Section 1(a), Article VII of the Florida Constitution, all taxing

powers belong to the state except for those powers specifically granted to local governments by

statute. Local governments do not have the authority to levy, regulate, or otherwise enforce taxes

relating to vacation rental properties.

        44.     Because all regulations of public lodging establishments, including vacation

rentals, are preempted to the state, with the exception of building and fire safety codes, and because

municipalities do not have the power to regulate or enforce matters of taxation relating to vacation

rental properties, the regulatory scheme set forth in Section 90-116 violates the Florida

Constitution and is invalid in that it purports to exercise powers that are preempted to the State.
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        45.     Section 90-116 is also invalid in that it purports to condition a property owner’s

ability to operate a property upon obtaining a Certificate of Use and complying with the Town’s

regulatory scheme that relates to matters preempted to the state.

        46.     However, Section 509.032(7)(b) specifically provides that a local government may

not prohibit vacation rentals or regulate the duration or frequency of rentals. The Town does not

have the power to prohibit or otherwise restrict a property owner from operating a vacation rental

property based upon a failure to obtain a Certificate of Use and otherwise complying with the

Town’s regulatory scheme.

        47.     Additionally, in the absence of a building code or fire safety regulation, the Town

likewise does not have the power to regulate the maximum occupancy of vacation rental properties

because such regulation is preempted by 509.032(7)(a) and because such regulation also violates

509.032(7)(b) as it operates to prohibit or otherwise vacation rentals based upon duration or

frequency.

        48.     Plaintiff has a bona fide, actual, present practice need for a declaration concerning

their rights and the validity of the Ordinance.

        WHEREFORE, Plaintiff MANAGEMENT PROPERTIES, LLC, respectfully request that

this court enter a declaratory judgment declaring the regulatory scheme set forth in Section 90-

116, as adopted by Ordinance 20-06, void, an award of attorneys’ fees and costs pursuant to

57.112(2), Florida Statutes, and all other relief that is just and proper.

        Dated: December 15, 2020



                                                    s/ Joseph P. Kenny
                                                Joseph P. Kenny, Esquire
                                                FBN: 59996
                                                WEBER, CRABB & WEIN, P.A.
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